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                             11                              UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF CALIFORNIA
                             12                                   SAN FRANCISCO DIVISION
Weil, Gotshal & Manges LLP




                             13
 New York, NY 10153-0119




                                   In re:                                          Case No. 19-30088 (DM)
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                             15    PG&E CORPORATION,                               Chapter 11

                             16             - and -                                (Lead Case)

                             17    PACIFIC GAS AND ELECTRIC                        (Jointly Administered)
                                   COMPANY,
                             18                                                    Adv. Pro. No. 19-03003 (DM)
                                                                 Debtors.
                             19
                                                                                   MEMORANDUM OF POINTS AND
                             20    PG&E CORPORATION,                               AUTHORITIES IN FURTHER SUPPORT
                                                                                   OF DEBTORS’ MOTION FOR
                             21    PACIFIC GAS AND ELECTRIC                        PRELIMINARY INJUNCTION
                                   COMPANY,
                             22                                                    Date: April 10, 2019
                                                                 Plaintiffs,       Time: 9:30 a.m.
                             23                                                    Place: Hon. Dennis Montali
                                            v.
                                                                                          United States Bankruptcy Court,
                             24                                                           Courtroom 17, 16th Floor
                                   FEDERAL ENERGY REGULATORY
                             25    COMMISSION,                                            450 Golden Gate Ave
                                                                                          San Francisco, CA 94102
                             26                                  Defendant.

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 1                                                  INTRODUCTION

 2            Since the ratification of the Constitution, Congress has determined that bankruptcy law

 3   should be administered by one court in one forum. The Federal Energy Regulatory Commission

 4   (“FERC”) and certain owners of generating facilities seek to upend this bedrock principle on the

 5   basis of assertions of “concurrent” jurisdiction that are untethered to any statute or authority.

 6   Instead, FERC and the Intervenors (together, the “Objectors”) rely on a panoply of arguments that

 7   do not alter the inescapable conclusion that the Bankruptcy Court, not FERC, has plenary

 8   jurisdiction over core proceedings, which very much include § 365 of the Bankruptcy Code. 1

 9                                                     ARGUMENT

10   I.       THE BANKRUPTCY COURT MUST PROTECT ITS PLENARY JURISDICTION

11            OVER CORE PROCEEDINGS

12            Despite FERC’s attack on this Court’s original and exclusive jurisdiction, FERC nonetheless

13   asserts that the Debtors have mounted an impermissible collateral attack on FERC’s Orders

14   declaring the agency’s “concurrent” jurisdiction over the rejection of certain executory contracts.

15   FERC and the Intervenors argue that, pursuant to 16 U.S.C. § 825l(b), City of Tacoma v. Taxpayers

16   of Tacoma, 357 U.S. 320 (1958), and California Save Our Streams Council, Inc. v. Yeutter, 887 F.2d

17   908 (9th Cir. 1989), any issue adjudicated by FERC must be reviewed by a U.S. Court of Appeals,

18   even if, as the Intervenors contend, FERC was not competent to adjudicate the issue in the first

19   instance. The Debtors agree that in the normal course of litigation, any suit concerning agency

20   action that “might affect the Circuit Court’s future jurisdiction is subject to the exclusive review of

21   the Court of Appeals.” Hunter v. FERC, 569 F. Supp. 2d 12, 15 (D.D.C. 2008) (citation omitted).

22   As the Intervenors correctly argue, a federal district court would ordinarily lack jurisdiction to

23   “collaterally attack and overturn the FERC Order . . . just as it would if the Debtors came to this or

24   any federal court to attack the merits of a state court order.” See PPA Counterparties’ Opposition

25   (“PPA Opp.”) at 4.

26            But these are not ordinary circumstances. This is bankruptcy. Orders from state courts and

27   federal agencies are void whenever they conflict with the Bankruptcy Court’s exercise of original

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          All capitalized terms not defined in this memorandum have the meaning ascribed to them in the Debtors’ Motion for
          Preliminary Injunction and Memorandum of Points and Authorities in Support (the “Opening Brief”), ECF No. 2-1.

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                              1   and exclusive jurisdiction over core proceedings. As the Supreme Court has explained, “Congress,

                              2   because its power over the subject of bankruptcy is plenary, may by specific bankruptcy

                              3   legislation . . . render judicial acts taken with respect to the person or property of a debtor whom the

                              4   bankruptcy law protects nullities and vulnerable collaterally.” Kalb v. Feuerstein, 308 U.S. 433,

                              5   438–39 (1940). Thus, to accord relief to the Debtors, the Court need not conduct any appellate

                              6   review of FERC’s regulatory actions, but only declare that FERC will be subject to the automatic

                              7   stay like any other entity. And because this Court has a “virtually unflagging obligation . . . to

                              8   exercise the jurisdiction given [it],” Colorado River Water Conservation Dist. v. United States, 424

                              9   U.S. 800, 817 (1976), it must also find that FERC’s Orders are prospectively void because they

                             10   encroach on a core proceeding solely committed to the Bankruptcy Court.               None of FERC’s

                             11   arguments come even remotely close to establishing that Congress has conferred jurisdiction on

                             12   FERC with respect to the rejection of PPAs. Moreover, because FERC has ventured outside the

                             13   confines of the Federal Power Act to interpret a provision of the Bankruptcy Code that it then seeks
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                             14   to incorporate into its own statutory grant of authority, its orders are necessarily ultra vires. This is
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                             15   “brazen defiance” of the agency’s statutory authorization. Hunter, 569 F. Supp. 2d at 16. The

                             16   Debtors’ pending Chapter 11 Cases require an expeditious resolution of this matter, and this Court

                             17   has jurisdiction to determine and enforce its own jurisdiction over the estates and over core

                             18   proceedings arising under the Bankruptcy Code.

                             19          A.      This Court Must Protect Its Plenary Jurisdiction

                             20          “A Congressional grant of exclusive jurisdiction to the federal courts includes the implied

                             21   power to protect that grant.” Gonzales v. Parks, 830 F.2d 1033, 1036 (9th Cir. 1987). The Court

                             22   must similarly ensure that its exclusive jurisdiction over the estates and core proceedings remains

                             23   exclusive. See In re McGhan, 288 F.3d 1172, 1175 (9th Cir. 2002) (reversing Bankruptcy Court

                             24   because it failed “to protect its exclusive jurisdiction over the enforcement of its own orders.”).

                             25          As the Court is aware, FERC has called this Court’s jurisdiction into question by declaring, a

                             26   few days before the commencement of these proceedings, that the Court lacks exclusive jurisdiction

                             27   because FERC also has jurisdiction over the core bankruptcy proceeding of rejection. By doing this,

                             28   FERC has essentially issued a prospective, direct attack on this Court’s jurisdiction. FERC’s Orders

                                  purport to give FERC jurisdiction over the rejection of PPAs indefinitely—well past the filing of the

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                              1   Debtors’ petition—and as a consequence, the Court must decide whether FERC actually shares

                              2   jurisdiction over core bankruptcy proceedings. FERC unambiguously does not.

                              3          The Constitution gives Congress the power “[t]o establish . . . uniform laws on the subject of

                              4   bankruptcies throughout the United States.” U.S. Const. art. I, § 8, cl. 4. The paramount importance

                              5   of centralized bankruptcy proceedings has long been recognized.          “The power of establishing

                              6   uniform laws of bankruptcy is so intimately connected with the regulation of commerce, and will

                              7   prevent so many frauds where the parties or their property may lie or be removed into different

                              8   States that the expediency of it seems not likely to be drawn into question.” See The Federalist No.

                              9   42 (James Madison) (emphasis added). Two hundred and twelve years later, the Ninth Circuit

                             10   affirmed its adherence to this tradition by noting that if bankruptcies were administered in different

                             11   tribunals, “[i]t is but slight hyperbole to say that chaos would reign in such a system.” In re Gruntz,

                             12   202 F.3d 1074, 1084 (9th Cir. 2000) (citing 11 U.S.C. § 362(a)(6)). For that reason, Congress has

                             13   made the Bankruptcy Courts the only courts capable of adjudicating core bankruptcy matters, by a
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                             14   clear statutory mandate.
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                             15          The inquiry “must begin[] with the language of the statute.” Lamar, Archer & Cofrin, LLP v.

                             16   Appling, 138 S. Ct. 1752, 1759 (2018). The Bankruptcy Courts have “original and exclusive

                             17   jurisdiction of all cases under title 11.” 28 U.S.C. § 1334(a). “By the plain wording of the statute,

                             18   Congress has expressed its intent that bankruptcy matters be handled exclusively in a federal forum.”

                             19   Gruntz, 202 F.3d at 1080. In so doing, “Congress intended to grant comprehensive jurisdiction to

                             20   the bankruptcy courts so that they might deal efficiently and expeditiously with all matters connected

                             21   with the bankruptcy estate.” Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995) (quoting Pacor,

                             22   Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984)).

                             23          The exclusive jurisdiction given to the Bankruptcy Courts by § 1334(a) over any matter that

                             24   “arises under title 11” extends to all “core” proceedings. See 28 U.S.C. § 157(b)(1). A “‘core

                             25   proceeding’ in bankruptcy is one that ‘invokes a substantive right provided by title 11 or . . . a

                             26   proceeding that, by its nature, could arise only in the context of a bankruptcy case.’” Gruntz, 202

                             27   F.3d at 1081 (quoting In re Wood, 825 F.2d 90, 97 (5th Cir. 1987)). As the Ninth Circuit has

                             28   explained, “the separation of ‘core’ and ‘non-core’ proceedings in the 1984 Act creates a distinction

                                  between those judicial acts deriving from the plenary Article I bankruptcy power and those subject

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                              1   to general Article III federal court jurisdiction.” Id.; see also In re Birting Fisheries, Inc., 300 B.R.

                              2   489, 499 (B.A.P. 9th Cir. 2003) (“exclusive jurisdiction exists over ‘core’ proceedings.”).

                              3          Section 8 of Article I, § 1334(a), and § 157(b) grant the Bankruptcy Court “plenary power

                              4   over core proceedings.” Gruntz, 202 F.3d at 1082. Upon the filing of a bankruptcy petition, all

                              5   jurisdiction over the bankruptcy estate becomes vested in the Bankruptcy Court and all other

                              6   proceedings against the debtor are stayed.       See Kalb, 308 U.S. at 438–39.         Any judicial or

                              7   administrative action that violates the Bankruptcy Court’s exclusive jurisdiction is simply void.

                              8   Thus, in Gruntz, the Ninth Circuit found that “[a]ny state court modification of the automatic stay

                              9   would constitute an unauthorized infringement upon the bankruptcy court’s jurisdiction to enforce

                             10   the stay.” 202 F.3d at 1082. This is not because of the text of section 362—that provision is itself

                             11   silent on whether a tribunal’s actions in violation of the stay are void—but because the only Court

                             12   competent to adjudicate core bankruptcy matters is the Bankruptcy Court. Any act that attempts to

                             13   tell the Bankruptcy Court how to manage the estate, or any other core matter, is ipso facto void
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                             14   because Congress has given exclusive jurisdiction over core matters to the Bankruptcy Court and to
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                             15   no other tribunal.

                             16          In fact, the Ninth Circuit in Gruntz rejected a state court’s claim to “concurrent” jurisdiction

                             17   over a core bankruptcy proceeding, namely the automatic stay. The Ninth Circuit found such a

                             18   claim “unavailing” because § 1334(a)’s grant of “original and exclusive” jurisdiction means what it

                             19   says and “nothing in that section vests the states with any jurisdiction over a core bankruptcy

                             20   proceeding.” Id. at 1083 (emphasis in original). And “even assuming that the states had concurrent

                             21   jurisdiction [over the automatic stay], their judgment would have to defer to the plenary power

                             22   vested in the federal courts over bankruptcy proceedings.” Id. at 1083. Because proceedings

                             23   involving § 362 are core proceedings under § 157, “by virtue of the power vested in them by

                             24   Congress, the federal courts have the final authority to determine the scope and applicability of the

                             25   automatic stay.” Id. Gruntz thus stands for the proposition that any tribunal that rules on a core

                             26   bankruptcy matter can be overruled by the Bankruptcy Court.             And the locus of the current

                             27   controversy—the rejection of contracts under § 365—is, of course, a core proceeding. See, e.g., In

                             28   re City of Cent. Falls, R.I., 468 B.R. 36, 50 (Bankr. D.R.I. 2012) (“Proceedings under 11 U.S.C.

                                  § 365(a) to assume or reject executory contracts . . . [are] undisputedly core proceedings.”); In re

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                              1   New York Deli, Ltd., 75 B.R. 797, 801 (Bankr. D. Haw. 1987) (“It is clear that motions to assume or

                              2   reject leases and executory contracts are ‘matters concerning the administration of the estate’

                              3   pursuant to 28 U.S.C. § 157(b)(2)(A) and thus a core proceeding.”).

                              4          The availability of exclusive appellate review in state courts is no obstacle to the invalidation

                              5   of state court judgments that infringe on the exclusive jurisdiction of the Bankruptcy Courts.

                              6   Although state courts are “arm[s] of the state,” Franceschi v. Schwartz, 57 F.3d 828, 831 (9th Cir.

                              7   1995), are ordinarily accorded “the dignity that is consistent with their status as sovereign entities,”

                              8   Fed. Mar. Comm’n v. S.C. State Ports Auth., 535 U.S. 743, 760 (2002) (citation omitted), and are

                              9   typically subject to federal review only by the United States Supreme Court pursuant to 28 U.S.C.

                             10   § 1257, that is not the case when the dispute involves a core proceeding within the Bankruptcy

                             11   Court’s exclusive jurisdiction. “In apparent contradiction to the Rooker-Feldman theory, bankruptcy

                             12   courts are empowered to avoid state judgments,” Gruntz, 202 F.3d at 1079, and “[a] state court

                             13   judgment entered in a case that falls within the federal courts’ exclusive jurisdiction is subject to
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                             14   collateral attack in the federal courts.” Gonzales, 830 F.2d at 1036; see also Wright & Miller, 18B
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                             15   Fed. Prac. & Proc. Juris. § 4469.1 (2d ed.) (“Habeas corpus, bankruptcy, and the International Child

                             16   Abduction Remedies Act embody exceptions to the Rooker-Feldman doctrine.”). “In fact, a reverse

                             17   Rooker-Feldman situation is presented when state courts decide to proceed in derogation of the stay,

                             18   because it is the state court which is attempting impermissibly to modify the federal court’s

                             19   injunction” and thereby violate the exclusive jurisdiction of the Bankruptcy Court. Gruntz, 202 F.3d

                             20   at 1083; see also Kalb, 308 U.S. at 438–39 (“judicial acts taken with respect to the person or

                             21   property of a debtor whom the bankruptcy law protects [are] nullities and vulnerable collaterally”);

                             22   In re Gurrola, 328 B.R. 158, 169 (B.A.P. 9th Cir. 2005) (“The rule regarding contested subject

                             23   matter jurisdiction permits collateral attacks where ‘[a]llowing the judgment to stand would

                             24   substantially infringe the authority of another tribunal or agency of government.’” (alterations in

                             25   original)) (quoting Restatement (Second) of Judgments § 12(2)).

                             26          There can be no doubt that Congress intended the Bankruptcy Court’s exclusive jurisdiction

                             27   to similarly supplant incorrect decisions by federal agencies “in core matters that fall within a

                             28   bankruptcy court’s ‘arising under’ jurisdiction.” Birting Fisheries, 300 B.R. at 500. Decisions of

                                  federal agencies that encroach on the exclusive jurisdiction of the Bankruptcy Courts are just as void

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                              1   as the encroaching judgments of state courts. For example, the Ninth Circuit has found that an IRS

                              2   tax assessment made pursuant to 26 U.S.C. § 6672 that violated the Bankruptcy Code’s automatic

                              3   stay provision—i.e., an act concerning the estate made outside the exclusive jurisdiction of the

                              4   Bankruptcy Court—was void. See In re Schwartz, 954 F.2d 569, 575 (9th Cir. 1992) (“A tax

                              5   assessment is a substantive violation of the automatic stay which creates a lien on all of the debtor’s

                              6   property”). The Court reached this conclusion even though in non-bankruptcy proceedings “[a] tax

                              7   assessment may not be collaterally attacked,” Graham v. United States, 243 F.2d 919, 922 (9th Cir.

                              8   1957), the tax assessment in question had long since become final, and the only means of appellate

                              9   review was either the Federal Court of Claims or the District Court. See Boynton v. United States,

                             10   566 F.2d 50, 53 (9th Cir. 1977). None of that stopped the Ninth Circuit from invalidating the tax

                             11   assessment. The IRS encroached on the Bankruptcy Court’s exclusive jurisdiction by violating the

                             12   automatic stay, and the Bankruptcy Court not only could but had to protect its jurisdiction.

                             13          Likewise, in In re Herbert, No. CC-96-1979-HOH, 1998 Bankr. LEXIS 617, at *9 (B.A.P.
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                             14   9th Cir. May 19, 1998), the Bankruptcy Appellate Panel found that the IRS violated the automatic
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                             15   stay by taking action, both before and after it had notice of the debtors’ bankruptcy, because a tax

                             16   assessment is “the first step in the IRS’s tax collection process.” Id. at *9. Thus, it was up to the

                             17   Bankruptcy Court, not the IRS—irrespective of the IRS appellate process—to decide whether the

                             18   automatic stay had been violated. Numerous courts have noted the same thing with regard to other

                             19   agency determinations. See, e.g., Chao v. Hosp. Staffing Servs., Inc., 270 F.3d 374, 384–85 (6th Cir.

                             20   2001) (“Administrative proceedings before a federal agency may likewise be declared void ab initio

                             21   if a court determines that the agency incorrectly determined that the stay did not bar the

                             22   proceedings.”); NLRB v. Edward Cooper Painting, Inc., 804 F.2d 934, 940 (6th Cir. 1986) (noting,

                             23   in dictum, that if “the proceeding was not excepted from the automatic stay, the entire NLRB

                             24   proceeding would be void ab initio”). It is therefore clear that the availability of exclusive review of

                             25   agency action does not foreclose the exercise of the Bankruptcy Court’s jurisdiction.

                             26          For those reasons, 16 U.S.C. § 825l(b) is inapposite here, and City of Tacoma is not

                             27   controlling. FERC’s argument that “district courts consistently refuse to exercise jurisdiction over

                             28   complaints that would restrict FERC action,” FERC Opp. at 10, completely misses the central issue

                                  of this case: the Bankruptcy Court’s exclusive jurisdiction over core proceedings. District courts

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                              1   ordinarily lack jurisdiction over FERC orders because their review of agency rate-setting is

                              2   foreclosed by the availability of direct and exclusive appellate review. But once a debtor declares

                              3   bankruptcy, an agency decision against the debtor concerning a core proceeding falls within the

                              4   Bankruptcy Court’s jurisdiction—not the jurisdiction of the federal courts of appeals. See Ingersoll-

                              5   Rand Fin. Corp. v. Miller Min. Co., 817 F.2d 1424, 1426 (9th Cir. 1987) (“section 362 should be

                              6   read to stay all appeals in proceedings that were originally brought against the debtor, regardless of

                              7   whether the debtor is the appellant or appellee.” (citation omitted)). As then-Judge Gorsuch wrote in

                              8   overruling the Tenth Circuit’s previous precedent to align with the precedent of nine other U.S.

                              9   Courts of Appeals,

                             10
                                                 [S]ection 362 . . . stay[s]    all    appeals     in    proceedings    that
                             11                  were originally brought against the debtor, regardless of whether the
                                                 debtor is the appellant or appellee. Thus, whether a case is subject to
                             12                  the automatic stay must be determined at its inception. That
                                                 determination should not change depending on the particular stage of
                             13                  the litigation at which the filing of the petition in bankruptcy occurs.
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                             14   TW Telecom Holdings Inc. v. Carolina Internet Ltd., 661 F.3d 495, 497 (10th Cir. 2011) (en banc)
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                             15   (citations omitted) (emphasis in original).

                             16          It falls to this Court to make an independent assessment of its own jurisdiction and enforce its

                             17   exclusive jurisdiction over a core bankruptcy proceeding. The Court is neither asked to sit as an

                             18   appellate panel nor as a ratemaking agency. The Debtors simply request that this Court enforce its

                             19   plenary jurisdiction over core proceedings. As the Ninth Circuit has stated with regard to another

                             20   core proceeding, “[a] bankruptcy court simply does not conduct an improper appellate review of a

                             21   state court when it enforces an automatic stay that issues from its own federal statutory authority.”

                             22   Gruntz, 202 F.3d at 1083. All matters concerning the estates and the Bankruptcy Court’s exercise of

                             23   plenary jurisdiction over the estates and matters arising under the Bankruptcy Code must be

                             24   determined by this Court, and not another body. And should FERC disagree with this Court’s

                             25   decision, its right to appellate review will not be diminished—thus placing § 825l(b) and the Code in

                             26   perfect harmony.

                             27

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                              1          B.       FERC Does Not Have Concurrent Jurisdiction, or Any Jurisdiction, over the

                              2                   Rejection of PPAs

                              3                   1.    FERC Simply Ignores § 1334(a)’s Plain Meaning

                              4          Not once in the Objectors’ briefing do they attempt to explain how FERC can have

                              5   “concurrent” jurisdiction when § 1334(a) of title 28 of the United States Code provides that the

                              6   federal courts, and not a federal agency, have “original and exclusive jurisdiction of all cases under

                              7   title 11.” As the Supreme Court has held in describing its own “original and exclusive” jurisdiction

                              8   over disputes between the States, 28 U.S.C. § 1251(a), “the description of our jurisdiction as

                              9   ‘exclusive’ necessarily denies jurisdiction of such cases to any other federal court.” Mississippi v.

                             10   Louisiana, 506 U.S. 73, 77–78 (1992). “This follows from the plain meaning of ‘exclusive,’” which

                             11   means to “debar from possession.” Id. (citing Webster’s New International Dictionary 890 (2d ed.

                             12   1942)). That same dictionary uses “concurrent jurisdiction” as an example when defining the

                             13   adjective “concurrent” as a quality “exercised over the same matter or area by two different
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                             14   authorities.”    See Concurrent, MERRIAM-WEBSTER.COM, https://www.merriam-webster.com/
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                             15   dictionary/concurrent (last visited Mar. 13, 2019). In other words, “concurrent” and “exclusive” are

                             16   antonyms. If jurisdiction is concurrent, then it cannot be exclusive; if it is exclusive, it cannot be

                             17   concurrent. FERC and the Intervenors might as well argue that hot is cold and wet is dry—if they

                             18   are correct in their assessment of the law, then section 1334(a) simply does not mean what it says.

                             19          The Objectors’ contrary arguments are wholly unconvincing. Rather than engage with the

                             20   text of the statute, they provide a litany of arguments and historical curios that supposedly give

                             21   FERC jurisdiction over the rejection of PPAs. All lack merit. First, though it is not entirely clear

                             22   what they are driving at, the Intervenors appear to argue that because a debtor could reject contracts

                             23   at common law, Congress did not mean to strip FERC of jurisdiction over the rejection of contracts

                             24   when it enacted § 365 in 1978. But no one denies that rejection has doctrinal roots in an era when

                             25   English prisons held debtors, though the law has changed much since then. What is disputed is that

                             26   FERC ever had such jurisdiction to begin with, a point the Objectors persistently, almost pointedly

                             27   take for granted. This is clearly a matter for the Bankruptcy Court. Section 1334(a) embraces core

                             28   proceedings such as rejection under section 365, which provides that the “the trustee, subject to the

                                  court’s approval, may assume or reject any executory contract or unexpired lease of the debtor.” 11

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                              1   U.S.C. § 365(a) (emphasis added). And both section 1334(a) of title 28 and section 365 of the

                              2   Bankruptcy Code were enacted in 1978 as part of “[a]n Act to establish a uniform Law on the

                              3   Subject of Bankruptcies,” a title that itself shows that Congress explicitly intended there to be one

                              4   tribunal tasked with core bankruptcy matters. See Bankruptcy Reform Act of 1978, Pub. L. No.

                              5   95-598, 92 Stat. 2549 (Nov. 6, 1978). Nothing in the FPA—which was enacted as the Public Utility

                              6   Holding Company Act of 1935, Pub. L. No. 74-333, §§ 201–213, 49 Stat. 803 (codified as amended

                              7   at 16 U.S.C. §§ 791a–830), and created the Federal Power Commission (which later became FERC

                              8   as a result of the 1977 enactment of the Department of Energy Organization Act)—suggests

                              9   otherwise.

                             10          Second, although the Intervenors suggest it bears some relevance, it is not apparent what

                             11   § 554 of the Code, concerning the Bankruptcy Court’s jurisdiction over the estate’s abandonment of

                             12   property, has to do with FERC’s jurisdiction over rejection. The Intervenors do not attempt to

                             13   explain this, and the Debtors will not attempt to since it has no relevance here.
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                             14          Third, the argument that the Energy Policy Act of 2005, 109 Pub. L. No. 58, 119 Stat. 594
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                             15   (Aug. 8, 2005), somehow expands FERC’s jurisdiction beyond the terms of the FPA was rejected by

                             16   the D.C. Circuit when FERC last made this argument by proposing that the Act expanded its

                             17   jurisdiction over matters within the exclusive jurisdiction of the Commodity Futures Trading

                             18   Commission. See Hunter v. FERC, 711 F.3d 155, 159 (D.C. Cir. 2013). “Because any infringement

                             19   of the CFTC’s exclusive jurisdiction” would effectively act as a “repeal,” FERC’s argument that it

                             20   had jurisdiction could only be construed as a “repeal by implication.” Id. But because repeals by

                             21   implication are “not favored,” the D.C. Circuit found that there was no “irreconcilable conflict” and

                             22   concluded that FERC therefore could not “encroach[] upon the CFTC’s exclusive jurisdiction.” Id.

                             23   at 159–60.

                             24          Finally, the Objectors’ remaining argument—that their breezy, extra-textual rationalizations

                             25   about FERC’s “concurrent” jurisdiction are somehow more specific than § 1334(a)’s grant of

                             26   “original and exclusive” jurisdiction—is facially ridiculous. This is not a question of generality

                             27   versus specificity.   FERC cannot point to any statutory language that justifies its assertion of

                             28   “concurrent” jurisdiction, and § 1334(a)’s grant of “original and exclusive” jurisdiction explicitly

                                  contradicts that assertion.

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                              1                    2.       FERC’s Syllogism for its “Concurrent” Jurisdiction is Unsound and Invalid

                              2           FERC’s argument for “concurrent” jurisdiction over the rejection of PPAs proceeds from two

                              3   premises that it believes support its conclusion. This syllogism may be summarized concisely:

                              4
                                                   Premise:          FERC has original and exclusive jurisdiction over the
                              5                                      rates in PPAs, extending to anything that “alters”
                                                                     (modifies, abrogates, etc.) those rates.
                              6
                                                   Premise:          The rejection of contracts under § 365 of the
                              7                                      Bankruptcy Code “alters” the rates of PPAs.
                              8
                                                   Conclusion:       Therefore, FERC has concurrent jurisdiction over the
                              9                                      rejection of PPAs.

                             10           The Debtors do not dispute the first premise. “FERC has exclusive authority to regulate ‘the

                             11   sale of electric energy at wholesale in interstate commerce.’” Hughes v. Talen Energy Mktg., LLC,

                             12   136 S. Ct. 1288, 1292 (2016) (citing 16 U.S.C. § 824(b)(1)). The Debtors also agree that “[t]he FPA

                             13   assigns to FERC responsibility for ensuring that ‘[a]ll rates and charges made, demanded, or
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                             14   received by any public utility for or in connection with the transmission or sale of electric energy
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                             15   subject to the jurisdiction of the Commission . . . shall be just and reasonable.” Id. (citing 16 U.S.C.

                             16   § 824d(a)). Because all the parties agree that the FPA means what it says, there is no need for the

                             17   Court to linger on the Objectors’ lengthy expositions on the filed-rate doctrine or FERC’s exclusive

                             18   jurisdiction over rates.2

                             19           It is the second premise with which the Debtors take issue. FERC asserts that “a rejection of

                             20   a Commission-jurisdictional contract in a bankruptcy court alters the essential terms and conditions

                             21   of the contract and the filed rate.” NextEra Order at ¶ 29. Taking this together with the premise that

                             22   FERC has exclusive jurisdiction over rates, FERC concludes that “[the] Commission’s jurisdiction is

                             23   implicated,” id., and that consequently “[the] Commission and the bankruptcy courts have

                             24

                             25
                                  2
                                      On this point, the Court should give no weight to the Declarations of Frank Lindh and William L. Massey because
                             26       they are both improper and irrelevant. First, they are laden with legal arguments that are not properly the subject of
                                      factual declarations. See, e.g., Silver v. Exec. Car Leasing Long-Term Disability Plan, 466 F.3d 727, 731 n.2 (9th
                             27       Cir. 2006) (affirming exclusion of a “legal argument that was not appropriate for a declaration”). Second, their
                                      discussions of California law and their guesswork as to the Debtors’ injuries are simply not relevant to the
                             28       jurisdictional issues in this case. Indeed, Mr. Massey’s concerns regarding grid reliability, market instability, and
                                      infrastructure are nothing more than unfounded fears—nothing here suggests (nor could it) that applying the
                                      automatic stay and preserving this Court’s exclusive jurisdiction will result in blackouts along the West Coast.

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                              1   concurrent jurisdiction to review and address the disposition of wholesale power contracts sought to

                              2   be rejected through bankruptcy.” Id. at p. 14.

                              3          There are at least two fatal problems with FERC’s syllogism. The first is that even if both of

                              4   FERC’s premises were sound, the only valid conclusion would be that FERC has exclusive

                              5   jurisdiction, not concurrent jurisdiction, with the result that FERC’s syllogism would oust the

                              6   Bankruptcy Court entirely from the field of the rejection of contracts.          Since that position is

                              7   completely untenable given the plain language of § 1334(a), FERC has instead dialed back that

                              8   conclusion by asserting it has “concurrent” jurisdiction, thereby venturing into a bold new world of

                              9   jurisdictional analysis that essentially splits the difference. But, of course, the very fact that FERC’s

                             10   reasoning yields an invalid conclusion is itself highly suggestive that its argument has an unsound

                             11   premise. And indeed it does. The second premise—that rejection “alters” a contract—is clearly

                             12   incorrect. Rejection is breach, and breach does not alter a contract.

                             13          The Bankruptcy Code plainly states that FERC is wrong. Rejection “constitutes a breach of
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                             14   such contract . . . immediately before the date of the filing of the petition.”          See 11 U.S.C.
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                             15   § 365(g)(1). As the Debtors have made clear time and time again, “rejection does not terminate a

                             16   contract.” In re Ortiz, 400 B.R. 755, 762 (C.D. Cal. 2009). Instead, rejection under § 365 “create[s]

                             17   a legal fiction in order to determine the priority of the creditor’s claims under the rejected contract

                             18   relative to all other unsecured claims against the debtor.” In re Burlington Motor Carriers Inc., No.

                             19   99-157-MMS, 1999 WL 1427683, at *12 (D. Del. Dec. 30, 1999). It creates a “breach” for which

                             20   the non-breaching party to the contract receives a “claim” against a debtor’s estate under 11 U.S.C.

                             21   § 101(5) that will be treated and resolved upon the effectiveness of a debtor’s chapter 11 plan. And

                             22   as this Court well knows, this is settled law. See, e.g., In re Onecast Media, Inc., 439 F.3d 558, 563

                             23   (9th Cir. 2006) (“Rejection under the Bankruptcy Code did not divest the estate from the breaching

                             24   party’s rights under the terms of the contract and applicable state law.” (citation omitted)); see also

                             25   Thompkins v. Lil’ Joe Records, Inc., 476 F.3d 1294, 1306 (11th Cir. 2007) (“[r]ejection has

                             26   absolutely no effect upon the contract’s continued existence; the contract is not cancelled,

                             27   repudiated, rescinded, or in any other fashion terminated.’” (citation omitted)).

                             28          FERC’s argument that rejection “alters” the terms of a contract does a disservice to common

                                  sense, the common law, and the Bankruptcy Code. If rejection is breach, then FERC has taken the

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                              1   position that breach “alters” a contract too. But if breach altered a contract, then the law of contracts

                              2   would be meaningless.      The party in breach would unilaterally modify the breached contract,

                              3   something that the law of contracts—which requires the meeting of minds, plural—abhors.

                              4   Moreover, the remedy for breach would be thrown into uncertainty, because the non-breaching party

                              5   would have to determine what terms, if any, would determine whether it had a claim against the

                              6   party in breach. But breach does no such thing, and neither does its doctrinal twin, rejection. Upon

                              7   rejection of a contract, the rates, terms and conditions, duration, and all the other features of a PPA

                              8   that fall within the scope of FERC’s jurisdiction remain exactly the same. Rejection merely creates

                              9   a “breach” that gives the non-breaching party a “claim” under § 101(5) that will be measured by the

                             10   terms of the contract in question, which here happen to be terms regulated by FERC. See In re

                             11   FirstEnergy Sols. Corp., No. 18-50757, 2018 WL 2315916, at *17 (Bankr. N.D. Ohio May 18,

                             12   2018) (“[R]ejection, including the attendant cessation of performance, does not intrude on FERC’s

                             13   jurisdiction over filed rates.”). Rather than alter the rates of PPAs, rejection vindicates the PPAs and
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                             14   their filed rates “by allowing damage claims pursuant to those contracts and rates.” Id. at *19.
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                             15          Because FERC has a fundamentally unsound premise, it has an equally unsound conclusion.

                             16   If rejection does not alter the terms of a PPA, then there is no basis for FERC’s assertion that it has

                             17   any jurisdiction over the rejection of contracts under § 365, let alone “concurrent” or “exclusive”

                             18   jurisdiction. FERC’s argument is thus both unsound and invalid, and it must be rejected.

                             19          Perhaps sensing the infirmities of FERC’s argument, the Objectors fire off a fusillade of

                             20   other potential justifications for FERC’s jurisdiction. Although they concede “there is no specific

                             21   exception in section 365” that could justify FERC’s argument that it has jurisdiction over the

                             22   rejection of contracts, PPA Opp. at 8, the Objectors propose that other provisions pick up the slack.

                             23   This is without merit. Exclusive jurisdiction does not become inclusive by implication, and that is

                             24   especially the case for a “creature of statute” like FERC whose jurisdiction extends no further than

                             25   the grant given to it by Congress. Atl. City. Elec. Co. v. FERC, 295 F.3d 1, 8 (D.C. Cir. 2002); see

                             26   also Civil Aeronautics Bd. v. Delta Air Lines, Inc., 367 U.S. 316, 322 (1961) (finding that an agency

                             27   “is entirely a creature of Congress” and “the determinative question” is not what “[it] thinks it should

                             28   do but what Congress has said it can do.”).



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                              1          After all, “Congress knew how to draft an exclusion . . . when it wanted to,” and “its failure

                              2   to do so in this instance indicates that Congress intended that § 365(a) apply” to all PPAs covered by

                              3   the FPA. NLRB v. Bildisco & Bildisco, 465 U.S. 513, 522–23 (1984). In fact, a debtor’s right to

                              4   reject contracts is qualified by many provisions, including provisions applicable to real property

                              5   leases, timeshare contracts, intellectual property contracts, and obligations to the FDIC. See 11

                              6   U.S.C. §§ 365(h), (i), (n), and (o). There are also special rules for securities contracts, aircraft

                              7   equipment, collective bargaining agreements, and railroad leases. Id. §§ 562, 1110, 1113, and 1169.

                              8   All of these are in the Bankruptcy Code, none of them are in the FPA, and none of them give FERC

                              9   a role here.     Section 365’s lack of an exception for FERC simply means that FERC has no

                             10   jurisdiction over the rejection of contracts. See FCC v. NextWave Pers. Commc’ns, Inc., 537 U.S.

                             11   293, 302 (2003) (“[W]here Congress has intended to provide regulatory exceptions to the

                             12   Bankruptcy Code, it has done so clearly and expressly.”); see also Law v. Siegel, 571 U.S. 415, 425

                             13   (2014) (“The Code’s meticulous—not to say mind-numbingly detailed—enumeration of exemptions
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                             14   and exceptions to those exemptions confirms that courts are not authorized to create additional
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                             15   exceptions.”).

                             16          The Objectors’ other arguments fare no better. Section 362(b)(4) provides an exception to

                             17   the automatic stay for governmental police and regulatory powers, and section 1129(a)(6) requires a

                             18   debtor to get applicable regulatory approval prior to the Court’s confirmation of the plan, but neither

                             19   concerns rejection, so both are immaterial.      Moreover, § 1129(a)(6) explicitly puts regulatory

                             20   agencies in a position that is subordinate, not concurrent, to the Bankruptcy Court; in all events, the

                             21   Court gets the final decision on confirmation, again revealing the infirmity of the Objectors’ position

                             22   here. The existence of § 1129(a)(6) also shows that Congress considered what role regulatory

                             23   agencies should play in this process, but declined to give FERC a role with respect to the rejection of

                             24   contracts. See, e.g., Jama v. Immigration & Customs Enf’t, 543 U.S. 335, 341 (2005) (“We do not

                             25   lightly assume that Congress has omitted from its adopted text requirements that it nonetheless

                             26   intends to apply, and our reluctance is even greater when Congress has shown elsewhere in the same

                             27   statute that it knows how to make such a requirement manifest.”). And the argument that FERC has

                             28   jurisdiction over the rejection of contracts because the Debtors must manage the estates in

                                  compliance with the law, as required by 28 U.S.C. § 959(b), is similarly meritless. The Debtors’

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                              1   duty under § 959(b) to comply with the “valid laws of the State” in which relevant “property is

                              2   situated” is not a statutory grant of jurisdiction to FERC over rejection decisions.

                              3          The foregoing reveals that the FPA and the Code are already in harmony, and the Objectors’

                              4   argument that they are not is essentially a baseless assertion that Congress has bequeathed

                              5   jurisdiction on FERC by indirect means. Congress has not altered this Court’s plenary and exclusive

                              6   jurisdiction over the rejection of contracts, and this Court therefore has subject-matter jurisdiction to

                              7   adjudicate this dispute, irrespective of § 825l(b)’s normal means of appellate review.

                              8          C.      FERC’s Order Is Not Entitled to Deference from This Court

                              9          Although an administrative act is normally unassailable by collateral attack in non-

                             10   bankruptcy proceedings, “judicial intervention is authorized when an agency acts in ‘brazen

                             11   defiance’ of its statutory authorization.” Philip Morris, Inc. v. Block, 755 F.2d 368, 369 (4th Cir.

                             12   1985) (citation omitted). FERC has clearly done so here. In attempting to rewrite § 365 of the

                             13   Bankruptcy Code, FERC has gone so far beyond its statutory authority that it is entitled to no
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                             14   deference whatsoever. As the Supreme Court has crisply summarized, “an agency literally has no
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                             15   power to act . . . unless and until Congress confers power upon it.” La. Pub. Serv. Comm’n v. FCC,

                             16   476 U.S. 355, 374 (1986); see also City of Arlington v. FCC, 569 U.S. 290, 297 (2013) (noting that

                             17   when agencies “act improperly, no less than when they act beyond their jurisdiction, what they do is

                             18   ultra vires”). The Debtors argued in their Opening Brief that this Court “owe[s] an agency’s

                             19   interpretation of the law no deference” where, as here, “the statutory provisions before [it] deliver

                             20   unmistakable commands.” SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1358 (2018). This point has not

                             21   been refuted. Neither FERC nor the Intervenors have made a colorable argument that the law

                             22   provides FERC jurisdiction here, citing only a handful of cases that would be, at best, persuasive

                             23   authority. And they are not persuasive. One, In re Calpine, 337 B.R. 27 (S.D.N.Y. 2006), is simply

                             24   wrong as a matter of law because it fails to comprehend the meaning of rejection under § 365 (and

                             25   concludes that FERC has exclusive, not “concurrent,” jurisdiction), and another, In re Boston

                             26   Generating, LLC, 2010 WL 4616243 (S.D.N.Y. 2010), is not analogous because there the debtor

                             27   submitted to FERC’s jurisdiction.

                             28          The Objectors do not even bother to refute these arguments, opting instead to hide behind 16

                                  U.S.C. § 825l(b) in a transparent attempt to deprive the Debtors of their right to seek authorization to

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                              1   reject contracts under the Bankruptcy Code. But every case they cite in support of this argument

                              2   concerns matters well within FERC’s jurisdiction. Not one concerns a situation where FERC

                              3   infringed upon the exclusive jurisdiction of the Bankruptcy Court. See City of Tacoma, 357 U.S. at

                              4   324 (concerning a construction license issued under the Federal Power Act, a plain exercise of

                              5   statutory authority); Pac. Gas & Elec. Co. v. FERC, 464 F.3d 861, 867 (9th Cir. 2006) (concerning

                              6   FERC’s powers to investigate tariffs); Cal. Save Our Streams, 887 F.2d at 911 (power to issue

                              7   licenses); Am. Energy Corp. v. Rockies Express Pipeline LLC, 622 F.3d 602, 605 (6th Cir. 2010)

                              8   (same); Williams Nat. Gas Co. v. City of Oklahoma City, 890 F.2d 255, 257 (10th Cir. 1989) (same);

                              9   Islander E. Pipeline Co. v. Blumenthal, 478 F. Supp. 2d 289, 290 (D. Conn. 2007) (state law

                             10   preempted by same); In re NRG Energy, Inc., No. 03-3754-RCC, 2003 WL 21507685, at *3

                             11   (S.D.N.Y. June 30, 2003) (concerning sale of electricity). And not one addresses the fact that

                             12   rejection motions decided by the Bankruptcy Court are subject to direct review by the District Court,

                             13   not by FERC. See 28 U.S.C. § 158. The notion that rejection motions are reviewable by FERC, and
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                             14   then again by FERC on rehearing, before then going to the Court of Appeals to confirm whether
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                             15   FERC properly applied whatever it interprets the law of rejection to be strains comprehension. It is

                             16   farcical. It makes no sense. And it would vastly overcomplicate the Debtors’ decisions in what is

                             17   otherwise supposed to be a uniform bankruptcy system as explicitly recognized by the Constitution

                             18   itself.

                             19             This calls for a return to regular order. Congress provided a place for everything here, and

                             20   everything is in its place in the current statutory scheme—provided FERC stays within the scheme.

                             21   When FERC adjudicates a matter within its exclusive statutory authority, section 825l(b) ensures

                             22   that only a U.S. Court of Appeals may review that decision. And when a Bankruptcy Court

                             23   adjudicates a matter within its exclusive, plenary statutory authority, only a federal court—not

                             24   FERC—may review that decision. But if FERC is allowed to crib its lines from the Bankruptcy

                             25   Code, the careful stage directions given by Congress would come undone, things would fall apart,

                             26   and “chaos would reign.” Gruntz, 202 F.3d at 1084. It follows that the Court must put a stop to this

                             27   confusion. FERC’s Orders here are entitled to no deference at all and the Court must not hesitate to

                             28   confirm its exclusive jurisdiction over core proceedings.



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                              1   II.     THIS IS A JUSTICIABLE CASE OR CONTROVERSY

                              2           As established above, FERC’s actions go so far beyond the established system that allows a

                              3   debtor to avail itself of the protections of the Bankruptcy Code that those actions can only be

                              4   understood as an injury. Because FERC has already issued what is effectively a direct attack in an

                              5   effort to throw this Court’s normal exercise of jurisdiction into disarray, the Debtors clearly have

                              6   standing to protect their rights under the Bankruptcy Code. Standing is a doctrine “rooted in the

                              7   traditional understanding of a case or controversy.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547

                              8   (2016). Establishing a case or controversy does not require the Debtors to “bet the farm” by

                              9   exercising their rights under 11 U.S.C. § 365, only to have those rights undermined by FERC. See

                             10   MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 134 (2007) (“The rule that a plaintiff must

                             11   destroy a large building, bet the farm, or . . . risk treble damages . . . before seeking a declaration of

                             12   its actively contested legal rights finds no support in Article III.”); see Wellness Group, LLC v. King

                             13   Bio, Inc., No. 1:12-cv-00281-MR-DLH, 2014 LEXIS 61073, at *10 (W.D.N.C. Apr. 30, 2014)
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                             14   (finding an “actual controversy” despite the plaintiff’s continued performance under a contract
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                             15   because defendant’s “stated intent to enforce its rights under [the contract] could reasonably be

                             16   construed as an intent to bring litigation” and requiring plaintiff to “bet the farm” by breaching

                             17   would wrongfully force the plaintiff to risk $100,000 in liquidated damages) (citing MedImmune,

                             18   549 U.S. at 134); Sierra Vista Hosp. v. Barton & Assocs., Inc., No. 17-cv-367-JAP/GJF, 2017

                             19   LEXIS 109597, at *10 (D.N.M. July 13, 2017) (“Plaintiff is not obligated to wait for Defendant to

                             20   sue, risk exposing itself to continuing potential liability, or negotiate a settlement agreement despite

                             21   its belief that it is not liable.”).

                             22           Indeed, as the Supreme Court explained in MedImmune, “where threatened action by

                             23   government is concerned,” the threat alone is sufficient to confer standing upon the Debtors.

                             24   MedImmune, 549 U.S. at 128–29 (emphasis in original).             To that end, FERC has not merely

                             25   threatened the Debtors’ rights under § 365; it actively contests those rights in an official FERC

                             26   Order. FERC’s threat to the Debtors’ estates is real, ongoing, and substantial. Accordingly, the

                             27   Debtors not only have standing to protect their rights under the Bankruptcy Code, but from a

                             28   statutory perspective are the only entities capable of doing so. See In re Advanced Ribbons & Office



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                              1   Prod., Inc., 125 B.R. 259, 263 (B.A.P. 9th Cir. 1991) (“Those persons whom Congress has

                              2   designated as beneficiaries of the stay have standing to assert its violation.”).

                              3          The question of ripeness is answered in the Debtors’ favor as well. FERC’s assertion to the

                              4   contrary mirrors its argument that the Debtors have no standing because FERC claims it has not

                              5   done anything yet. Rather than recognize FERC’s ultra vires excursion into the Bankruptcy Code

                              6   for the injury that it is, the Objectors argue that “[t]his action is not ripe” because the Debtors have

                              7   not affirmatively committed to rejecting any of the PPAs, and the mere fact that FERC may

                              8   ultimately interfere with a rejection motion does not satisfy Article III’s case or controversy

                              9   requirement. See FERC Opp. at 7–8; see also PPA Opp. at 2, 4 n.9.

                             10          But the Debtors’ right to functioning and exclusive Bankruptcy Court jurisdiction for the

                             11   protection of the estates and the effectuation of the rights provided by the Bankruptcy Code,

                             12   including enforcement of the automatic stay, is already impaired and is at imminent risk of further

                             13   impairment. The Debtors did not bring this action—as FERC suggests—because FERC may one
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                             14   day interfere with a rejection motion. Quite the contrary: the Debtors brought this action because
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                             15   FERC is currently interfering with the Debtors’ right to reorganize under chapter 11. On January 25,

                             16   2019, FERC issued an order that explicitly purports to abrogate this Court’s exclusive jurisdiction

                             17   and implicitly purports to deprive the Debtors’ of their ability to reject any PPA subject to the

                             18   Court’s approval. This injury is, in the words of the Supreme Court, “real, immediate, and direct.”

                             19   Davis v. Fed. Election Comm’n, 554 U.S. 724, 734 (2008). The functional impact of FERC’s

                             20   January 25, 2019 Order “need not be actualized.” Id. FERC is interfering with the Debtors’

                             21   prospects for reorganization right now. After all, FERC still contends that it “maintains discretion to

                             22   exercise its authority,” NextEra Order ¶ 31, in an area it is necessarily excluded from by the plain

                             23   language of 28 U.S.C. § 1334(e). In the meantime, just as the specter of FERC Action currently

                             24   colors the Debtors’ ability to consider its PPAs, if FERC’s “concurrent” jurisdiction were to apply,

                             25   progress toward confirmation would slow to a crawl. Relevant stakeholders would be unable or

                             26   unwilling to support various aspects of any proposed chapter 11 plan without knowing whether

                             27   rejection decisions would be subject to further FERC veto rights. Most problematic of all, FERC’s

                             28   position that the Debtors cannot obtain injunctive relief until they decide which contracts will be

                                  rejected, and then contested at FERC, presents the imminent threat of inefficient, inconsistent, and

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                              1   ultimately void litigations about whether FERC has the jurisdiction to oversee the Debtors’ rejection

                              2   motions. In short, the process that FERC envisions is wildly inconsistent with “[t]he fundamental

                              3   purpose of reorganization,” which is to consolidate proceedings and expeditiously resolve creditor

                              4   claims “to prevent the debtor from going into liquidation, with an attendant loss of jobs and possible

                              5   misuse of economic resources.” Bildisco & Bildisco, 465 U.S. at 528.

                              6           This is an acute injury that should not be allowed to become chronic. The Debtors need to

                              7   resolve this now. It is therefore clear that there is a justiciable controversy between the parties in

                              8   which the Debtors seek to protect their rights under the Bankruptcy Code rather than countenance

                              9   the chaos proposed by FERC.

                             10   III.    FERC IS SUBJECT TO THE AUTOMATIC STAY

                             11           FERC’s “concurrent” jurisdiction argument—that it can “review and address the disposition

                             12   of wholesale power contracts sought to be rejected through bankruptcy”—is ultimately irrelevant

                             13   under the Bankruptcy Code. It does not justify exemption from the stay any more than does the
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                             14   concurrent jurisdiction enjoyed by other non-bankruptcy tribunals over federal questions. See, e.g.,
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                             15   Chao, 270 F.3d at 384 (“Once a bankruptcy proceeding begins in one court, the concurrent

                             16   jurisdiction of other courts is partially stripped . . . if the automatic stay applies to an action directed

                             17   at the debtor or its property, jurisdiction is exclusive in the bankruptcy court.”). As noted above,

                             18   enforcement of the stay is not “an improper appellate review,” Gruntz, 202 F.3d at 1083, because the

                             19   automatic stay is “effective against the world.” In re Peralta, 317 B.R. 381, 389 (B.A.P. 9th Cir.

                             20   2004). “[U]nless an exception to the automatic stay applies,” FERC is stayed. Commodity Futures

                             21   Trading Com. v. Co. Petro Marketing Group, Inc., 700 F.2d 1279, 1283 (9th Cir. 1983). And the

                             22   Debtors do not need an injunction to prevent the Intervenors (or any non-intervening PPA

                             23   Counterparties) from initiating or continuing a proceeding anywhere outside of this Court. Congress

                             24   has already done that by operation of law. See 11 U.S.C. § 362(a)(1). Any attempt to enforce the

                             25   FERC Order outside of this Court “would violate four provisions of section 362 simultaneously—

                             26   section 362(a)(1) (continuation of an action against the debtor), Section 362(a)(2) (enforcement of a

                             27   pre-bankruptcy judgment), Section 362(a)(3) (action to obtain possession of property of the estate),

                             28   and Section 362(a)(6) (any act to collect on a claim against the debtor).” Delpit v. Commissioner, 18

                                  F.3d 768, 772 (9th Cir. 1994) (emphasis in original) (finding that the automatic stay applied to an

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                              1   IRS attempt to appeal or enforce an agency decision). Even when acting in the quasi-judicial

                              2   capacity it purports to possess over the rejection of executory contracts, FERC is subject to the stay

                              3   like any other entity because it is adjudicating private rights. See, e.g., In re Poule, 91 B.R. 83, 86–

                              4   87 (B.A.P. 9th Cir. 1988) (“Where the agency’s action affects only the parties immediately involved

                              5   in the proceeding, it is exercising a judicial function and the debtor is entitled to the same protection

                              6   from the automatic stay as if the proceeding were being conducted in a judicial forum.”).

                              7          A.      Section 362(b)(4) Does Not Exempt FERC Action from the Automatic Stay

                              8          FERC is not exempt from the automatic stay. Under section 362(b)(4), the phrase “police or

                              9   regulatory power” refers to the enforcement of laws affecting health, welfare, morals and safety,

                             10   “but not regulatory laws that directly conflict with the control of the res or property of the estate.” In

                             11   re Universal Life Church, 128 F.3d 1294, 1297 (9th Cir. 1997) (citing Hillis Motors, Inc. v. Hawaii

                             12   Auto. Dealers’ Ass’n, 997 F.2d 581, 591 (9th Cir. 1993)).              The Ninth Circuit applies two

                             13   complementary tests to determine whether government action falls under the so-called “government
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                             14   regulatory exception” to the automatic stay: the public policy test and the pecuniary purpose test.
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                             15   See In re Dingley, 852 F.3d 1143, 1146 (9th Cir. 2017). If government action “is intended either to

                             16   protect the government’s pecuniary interest in the debtor’s property or to adjudicate private rights,

                             17   the government regulatory exemption will not apply and the automatic stay will be imposed.” Id. at

                             18   1147. Because FERC is not bringing suit, pursuing an action, or commencing or continuing a

                             19   proceeding against the Debtors—but rather is adjudicating private rights between discrete and

                             20   identifiable entities—the FERC Action at issue fails both tests and does not fall within the scope of

                             21   section 362(b)(4)’s exception to the automatic stay.

                             22                  1.      FERC Action Would Not Effectuate Public Policy

                             23          The public policy test distinguishes between government actions that effectuate public policy

                             24   and those that adjudicate private rights: only the former are exempted from the automatic stay. See

                             25   NLRB v. Continental Hagen Corp., 932 F.2d 828, 833 (9th Cir. 1991). The FERC Action—which

                             26   would primarily define the contractual rights between the Debtor and individual PPA

                             27   Counterparties—fails this test. See, e.g., In re Wengert Transp., Inc., 59 B.R. 226, 230 (N.D. Iowa

                             28   1986) (noting that the public policy test “focuses on whether the agency is acting primarily pursuant

                                  to its quasi-legislative or quasi-executive powers in enforcing the public interest, or is acting in a

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                              1   quasi-judicial capacity to settle disputes which principally concern the immediate parties. Actions

                              2   undertaken in the latter capacity are not protected by section 362(b)(4).”).

                              3          The Objectors’ passing references to the policy considerations underlying the FPA do not

                              4   dictate a different result. For example, FERC cites In re Wyly, 526 B.R. 194, 201 (Bankr. N.D. Tex.

                              5   2015), for the proposition that “[w]here a law is expressly intended to safeguard the integrity of the

                              6   markets, the government’s regulatory actions pursuant to that law are a legitimate exercise of its

                              7   regulatory power, and are exempt under section 362(b)(4).” But Wyly makes clear that the proper

                              8   inquiry is not whether the regulatory scheme advances the public interest, but whether “the

                              9   particular regulatory proceeding at issue is designed primarily to protect the public safety and

                             10   welfare.” Wyly, 526 B.R. at 198. And the Ninth Circuit teaches that the analysis is even more

                             11   tailored. See City & Cty. of S.F. v. PG&E Corp., 433 F.3d 1115, 1124 (9th Cir. 2006) (“If we

                             12   considered only the action as a whole, the government could circumvent the reach of the automatic

                             13   stay by including in one action claims that were clearly subject to the automatic stay with exempt
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                             14   claims.”). Here, two private litigants—NextEra and Exelon—sued the Utility, asking FERC to
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                             15   declare that it had “concurrent” jurisdiction to adjudicate their contractual rights. Now that NextEra

                             16   and Exelon have obtained their requested relief, the exercise of FERC’s asserted jurisdiction would

                             17   affect only the parties to a specific PPA. Therefore, FERC Action would be “designed primarily” to

                             18   advance a private—not public—interest.

                             19          That is also why this Court’s Lynch decision from the prior PG&E bankruptcy does not

                             20   decide the issue. See Pac. Gas & Elec. Co. v. Lynch (In re Pac. Gas & Elec. Co.), 263 B.R. 306

                             21   (Bankr. N.D. Cal. 2001). There, the decision by CPUC affected all rates for all retail customers

                             22   within PG&E’s historic territory. Id. at 319. This Court appropriately reasoned that, even though it

                             23   favored customers at PG&E’s expense, the accounting decision at issue was not an adjudication, but

                             24   more legislative in character. Id. In other words, it did not “decide [a] cause of action between

                             25   individual consumers and PG&E.” Id. Here, in contrast, FERC Action would primarily adjudicate

                             26   private rights if FERC started overturning this Court’s decisions authorizing the Debtors’ assumption

                             27   or rejection of executory PPAs. Such adjudications would initially benefit a PPA Counterparty to

                             28   the Debtors’ detriment, and secondarily impose higher costs on key constituents of the Debtors’

                                  estates—including ratepayers, creditors, and tort claimants. They would do so in two ways: first, by

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                              1   allowing counterparties to jump to the front of section 507’s priority scheme by recovering the

                              2   equivalent of administrative expense claims, and second, by making the Debtors’ customers—some

                              3   of whom have lost their homes—bear that burden by paying more than necessary in their utility bills.

                              4                  2.      FERC Action Fails the Pecuniary Interest Test.

                              5          The Intervenors misstate the pecuniary purpose test.             As this Court has observed,

                              6   “[a]pplication of the tests outlined by Universal Life is not entirely clear.” Lynch, 263 B.R. 318

                              7   n.17. The “solely” language that the Intervenors cite from Universal Life—which, in turn, directs

                              8   the reader to In re Thomassen, 15 B.R. 907 (BAP 9th Cir. 1981)—“appears nowhere in Thomassen

                              9   and appears to be a misreading of that case.” Lynch, 263 B.R. at 318 n.17. Thomassen holds that

                             10   governmental units—whether they be state, local, or federal—“cannot, by an exercise of their police

                             11   or regulatory powers, subvert the relief afforded by the federal bankruptcy laws.” 15 B.R. at 909.

                             12   “When they seek to do so for a pecuniary purpose”—“either to the governmental unit, directly, or to

                             13   its citizens”—“they are automatically stayed, notwithstanding the exception found at 11 U.S.C.
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                             14   § 362(b)(4).” Id. And FERC similarly misstates the Ninth Circuit’s directive in Universal Life. As
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                             15   stated in the Debtors’ Opening Brief, the full quotation is: “Under the pecuniary purpose test, the

                             16   court determines whether the government action relates primarily to the protection of the

                             17   government’s pecuniary interest in the debtors’ property or to matters of public safety and welfare.”

                             18   Universal Life, 128 F.3d at 1297; see also Opening Br. at 15. By omitting the italicized clause,

                             19   FERC attempts to relieve itself of demonstrating that FERC Action would serve any police or

                             20   regulatory purpose whatsoever.      But section 362(b)(4) cannot, and does not, apply unless the

                             21   governmental unit’s action is in furtherance of its police or regulatory power.

                             22          The Bankruptcy Court in FirstEnergy correctly held that FERC’s exercise of its “concurrent”

                             23   jurisdiction was so contrary to the priority scheme Congress established in the Bankruptcy Code that

                             24   such action did “not constitute the use of the agency’s police or regulatory power.” FirstEnergy,

                             25   2018 WL 2315916, at 19. In fact, the “primary impact” of “concurrent” jurisdiction “w[ould] be a

                             26   pecuniary advantage to those counterparties relative to other similarly situated creditors.” Id. at *10.

                             27   Specifically, it would nullify the practical effects of rejection, allow PPA counterparties to stand on a

                             28   different platform than all other holders of rejection claims against the debtors, and create a result



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                              1   financially indistinguishable from mandatory assumption.                    Id.    Thus, FERC’s exercise of

                              2   “concurrent” jurisdiction fell outside the exception enacted by section 362(b)(4). Id. at *9, 19.

                              3           The same is true here. The FERC Action relates primarily—perhaps exclusively—to the

                              4   protection of private parties’ pecuniary interest in the debtors’ property.                   Unlike the section

                              5   362(b)(4) cases that the Objectors cite, 3 FERC’s role vis-à-vis the Debtors is not as a plaintiff or

                              6   investigator. Rather, it presides over disputes between individual litigants affecting private contract

                              7   rights. Just like any other court, body, or entity whose function is to resolve such disputes, FERC

                              8   ceded to this Court immediately upon the Petition Date any powers to protect the pecuniary interest

                              9   of the Debtors’ creditors. See Poule, 91 B.R. at 86–87; In re Dan Hixson, 12 B.R. 917, 921 (Bankr.

                             10   N.D. Tex. 1981). This Court should not allow FERC to overturn this Court’s decisions regarding

                             11   executory PPA contracts under section 365 because doing so would provide special treatment to a

                             12   subset of the Debtors’ rejection creditors.

                             13           Finally, this Court should reject FERC’s suggestion that the language it quotes from Board of
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                             14   Governors of the Fed. v. MCorp Fin., Inc., 502 U.S. 32 (1991), is some sort of broad pronouncement
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                             15   on section 362(b)(4)’s purpose. See FERC Opp. at 20. In truth, the Supreme Court merely rejected

                             16   the debtor’s argument that section 362(b)(4) applies only if a Court first determines that application

                             17   of that provision is appropriate. 502 U.S. at 40. The Debtors do not dispute that the police and

                             18   regulatory power exception—like section 362(a)’s stay—is automatic. Rather, the Debtors’ primary

                             19   argument in this Adversary Proceeding—as to which this Court has the ultimate decision—is that

                             20   FERC Action does not meet section 362(b)(4)’s narrow exception to the automatic stay.

                             21           B.       Section 362(a) Stays FERC Proceedings

                             22           FERC suggests that the Debtors’ proposed injunction “is overly broad” insofar as it “purports

                             23   to suspend ‘any and all deadlines’ in the FERC Proceedings.” FERC Opp. at 28; see also PPA Opp.

                             24   at 13. In FERC’s telling, such an injunction would directly violate section 108(b) of the Bankruptcy

                             25   Code, which tolls the “Debtors’ statutory deadlines to the later of the actual deadline or to 60 days

                             26
                                  3
                                      See Board of Governors of the Fed. v. MCorp Fin., Inc., 502 U.S. 32 (1991) (Board of Governors of the Federal
                             27       Reserve System commenced administrative proceedings against debtor); City & Cty. of S.F. v. PG&E Corp., 433
                                      F.3d 1115 (9th Cir. 2006) (concerning lawsuits filed by the California Attorney General and the City and County of
                             28       San Francisco); In re Universal Life Church, Inc., 128 F.3d 1294 (9th Cir. 1997) (following an investigation, IRS
                                      revoked debtor’s tax-exempt status); In re Wyly, 526 B.R. 194 (Bankr. N.D. Tex. 2015) (SEC amended complaint in
                                      action filed in district court to name debtor as a relief defendant).

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                              1   after the date of bankruptcy filing.” FERC Opp. at 28. “Nothing in the Code,” FERC asserts, grants

                              2   this Court the power to bestow this form of relief. Id.

                              3          This is a red herring. Section 362(a) of the Bankruptcy Code explicitly and unambiguously

                              4   stays “the commencement or continuation [of any] action or proceeding against the debtor that was

                              5   or could have been commenced before the commencement of” these Chapter 11 Cases. 11 U.S.C.

                              6   § 362(a). Because the PPA Counterparties initiated those actions against the Debtors prior to the

                              7   “commencement” of these Chapter 11 Cases, “[s]ection 362 should be read to stay all appeals”

                              8   arising from all FERC proceedings. Ingersoll-Rand, 817 F.2d at 1426; see also In re Parker, 68

                              9   F.3d 1131, 1135–36 (9th Cir. 1995) (“This Court, as well as seven other courts of appeals, has

                             10   concluded that the automatic stay can operate to prevent an appeal by a debtor when the action or

                             11   proceeding below was against the debtor.”). Any appeal would constitute a continuation of a

                             12   proceeding against the Debtors and, thus, would be automatically stayed under section 362(a). Now

                             13   that the Debtors have filed their requests for rehearing, all proceedings at FERC are stayed.
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                             14   IV.    THE OBJECTORS’ ARGUMENTS AGAINST THE APPROPRIATENESS OF
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                             15          INJUNCTIVE RELIEF ARE BESIDE THE POINT

                             16          “It is well established that the bankruptcy court under section 105 may affirmatively enjoin

                             17   acts against a debtor that are not prohibited by the automatic stay.” In re Sec. Gas & Oil, Inc., 70

                             18   B.R. 786, 792–93 (Bankr. N.D. Cal. 1987); see Gruntz, 202 F.3d at 1087 (“There is a procedural

                             19   avenue to forfend [government] actions that are not subject to the automatic stay but that threaten the

                             20   bankruptcy estate: a request for an injunction under 11 U.S.C. § 105.”); accord In re Pac. Gas &

                             21   Elec. Co., 263 B.R. 306, 321 (Bankr. N.D. Cal. 2001) (Montali, J.). Even if the Court were to find

                             22   that FERC fell within the scope of § 362(b)(4), the Court has the power to enjoin FERC under

                             23   section 105 if its actions threaten the estates. See, e.g., In re Bel Air Chateau Hosp., Inc., 611 F.2d

                             24   1248, 1251 (9th Cir. 1979) (“Stays of regulatory proceedings should not be automatic but are

                             25   appropriate when it is likely that the court proceedings will threaten the estate’s assets.”); see also

                             26   Opening Br. at 17, n.30. Such injunctions are “appropriate where the threatened state activity would

                             27   unduly interfere with the proper functioning of the Bankruptcy Code.” Sec. Gas & Oil, Inc., 70 B.R.

                             28   at 792–93. They are also appropriate to restrain activities that impair the Court’s jurisdiction with

                                  respect to the case before it. See Birting Fisheries, 300 B.R. at 497.

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                              1           In applying the usual preliminary injunction standard in the bankruptcy context, “a

                              2   bankruptcy court must consider whether the debtor has a reasonable likelihood of a successful

                              3   reorganization, the relative hardship of the parties, and any public interest concerns if relevant.” In

                              4   re Excel, 502 F.3d 1086, 1096 (9th Cir. 2007); accord In re Billing Res., No. 07-52890-ASW, 2007

                              5   Bankr. LEXIS 3789, at *27 (Bankr. N.D. Cal. Nov. 2, 2007) (adopting Excel standard to enjoin the

                              6   FTC).

                              7           A.     Likelihood of a Successful Reorganization Is the Correct Standard

                              8           The Objectors simply misstate the applicable standard here. Contrary to what they claim,

                              9   Excel does not apply “only where a debtor seeks to enjoin the prosecution of an action against a non-

                             10   debtor.” PPA Opp. at 17. Nothing about the Ninth Circuit’s reasoning limits Excel’s holding to

                             11   actions against non-debtors; rather, the case holds that the likelihood of successful reorganization is

                             12   the right test when a debtor claims that the thing it seeks to enjoin would harm its ability to

                             13   reorganize. Thus, in Excel, a debtor seeking to enjoin arbitration proceedings between two non-
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                             14   debtor parties merely had to show that the proceedings would harm the debtor’s ability to
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                             15   reorganize; “it ma[de] sense to require a showing of a reasonable likelihood of a successful

                             16   reorganization.” Id. at 1095–96 (collecting cases). Indeed, as the Ninth Circuit made clear, adopting

                             17   the alternative approach that the Objectors propose, “would collapse the traditionally distinct merits

                             18   and hardship prongs into a single inquiry.” Id. at 1096. It follows that the “most relevant future

                             19   proceeding” here is the Debtors’ reorganization. Id. at 1095. This is particularly the case here,

                             20   because this dispute concerns the rejection of contracts, a central part of the Debtors’ reorganization.

                             21                  1.      The Debtors Are Reasonably Likely to Reorganize Successfully

                             22           The Intervenors overstate the Debtors’ burden of showing a reasonable likelihood of

                             23   successful reorganization. Where the Debtors are “on track” and have “met the challenges they have

                             24   faced so far, that is sufficient” to satisfy the reasonable-likelihood-of-successful-reorganization

                             25   factor. In re Lyondell Chem. Co., 402 B.R. 571, 590 (Bankr. S.D.N.Y. 2009) (granting injunction

                             26   where there was “no reason to believe or suspect that [the debtors’] reorganization w[ould] fail—

                             27   unless, of course, the acts sought to be enjoined caused it to fail”) (emphasis in original); see also In

                             28   re Phila. Newspapers, LLC, 407 B.R. 606, 617 (E.D. Pa. 2009) (same); Steven P. Nelson, D.C., P.A.

                                  v. G.E. Capital Corp., 140 B.R. 814, 816–17 (Bankr. M.D. Fla. 1992) (same); see also In re Union

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                              1   Tr. Phila., LLC, 460 B.R. 644, 660 (E.D. Pa. 2011) (affirming injunction where debtor’s prospects

                              2   for a successful reorganization “remain[ed] viable” and debtor was “entitled to additional time to

                              3   formulate its plan of reorganization” (citation omitted)). Indeed, given the early stage of the Chapter

                              4   11 Cases, “all uncertainties should be resolved in the [D]ebtors’ favor.”             Dore & Assocs.

                              5   Contracting, Inc. v. Am. Druggist Ins. Co., 54 B.R. 353, 359 (Bankr. W.D. Wis. 1985); see In re

                              6   Otero Mills, Inc., 25 B.R. 1018, 1022 (D.N.M. 1982) (“Although reorganization by any bankruptcy

                              7   may be speculative early in the proceedings, appellant is protected in that if a reorganization plan is

                              8   not approved, it may apply to the bankruptcy court to lift the injunction.”).

                              9          The Debtors have met their burden here. By securing a DIP facility, the Debtors will be able

                             10   to maintain operations throughout the Chapter 11 Cases. Additionally, the Debtors have already

                             11   sought and obtained interim relief to stabilize their businesses by, among other things, utilizing their

                             12   existing cash management system, and paying certain prepetition wages, taxes, lien claimants, and

                             13   other vendors that are necessary to preserve and maintain the Debtors’ operations in a safe and
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                             14   reliable manner. Moreover, this Court has given final approval to the Debtors’ cash management,
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                             15   customer programs, and operational integrity suppliers. In the very near future, the Debtors also

                             16   expect to set a proposed bar date for creditors’ proofs of claim. Additionally, the Debtors have

                             17   begun discussions with the newly formed official committees, certain ad hoc groups, as well as

                             18   Governor Newsom and his Strike Force. The input of each of these stakeholders is critical to

                             19   resolving the Chapter 11 Cases—as is the continuing mediation with wildfire victims. The Debtors

                             20   expect to file their Schedules of Assets and Liabilities, which will inform many of these discussions,

                             21   on March 14.

                             22                  2.      The Debtors Are Likely to Succeed on the Merits in this Adversary Proceeding

                             23          Even if the more stringent “likelihood of success” standard for the granting of a preliminary

                             24   injunction applies here, the Debtors clear that hurdle as well. As conclusively established above,

                             25   FERC’s claim to jurisdiction is wholly and entirely bereft of merit, and there can be no doubt that

                             26   this Court has exclusive jurisdiction over the Debtors’ assumption and rejection decisions.

                             27          B.      Without an Injunction, the Debtors Will Suffer Irreparable Harm

                             28          FERC cites Henkel v. Lickman (In re Lickman), 286 B.R. 821, 829 (Bankr. M.D. Fla. 2002)

                                  for the proposition that a collateral attack manifests an irreparable harm. The Debtors agree with

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                              1   Lickman. The Bankruptcy Court in Lickman recognized that a state court’s collateral attack on

                              2   bankruptcy jurisdiction “would, if unchecked, result in irreparable harm to the plaintiff and to the

                              3   bankruptcy policy of the United States.” Id. at 829. That, of course, is the situation here: FERC’s

                              4   interference with the clear mandate of Congress presents the “nightmare scenario” of the Debtors’

                              5   “having to defend against suits by litigants disappointed by [the trustee’s] actions,” with the result

                              6   that “the fundamental policies upon which the bankruptcy court’s jurisdiction is founded” would be

                              7   subverted. Id. at 829–830 (citation omitted); see also In re Chiron Equities, LLC, 552 B.R. 674, 699

                              8   (Bankr. S.D. Tex. 2016) (finding that an action in another tribunal violates “the long-standing

                              9   judicial policy prohibiting collateral attacks” on bankruptcy jurisdiction, “thereby undercutting the

                             10   orderly process of law, which results in irreparable harm”) (citing cases). The very fact that FERC

                             11   has issued invalid orders that directly attack this Court’s exclusive jurisdiction is itself an irreparable

                             12   harm. No damages can repair the injury of depriving the Debtors of an exclusive forum for core

                             13   bankruptcy proceedings. And as demonstrated above, when an act of an administrative tribunal
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                             14   conflicts with the exclusive jurisdiction of the Bankruptcy Court, the Bankruptcy Court’s jurisdiction
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                             15   is plenary.

                             16          In any event, neither the Debtors nor this Court need to be soothsayers to recognize the

                             17   imminent threat here. As the Bankruptcy Court correctly recognized in FirstEnergy, “the more

                             18   central inquiry is whether the action could be either harmlessly undone or compensated with

                             19   monetary damages.” FirstEnergy, 2018 WL 2315916, at *19. Because “movants for preliminary

                             20   injunctions are not required to demonstrate impossible clairvoyance and prove that, but for the

                             21   proposed injunction, the enjoined entity would take the enjoined action,” the Debtors respectfully

                             22   request that this Court perform the hypothetical exercise that the Bankruptcy Court in FirstEnergy

                             23   constructed to answer this inquiry. Id. If FERC were not stayed or enjoined, and FERC took some

                             24   action—e.g., issued an order overturning this Court’s decision to authorize the Debtors’ rejection of

                             25   an executory PPA—FERC would argue that appellate review of that order would lie exclusively in

                             26   the Courts of Appeals. In FERC’s view, this Court would lose “effective jurisdiction over a critical

                             27   piece of the restructuring of the [D]ebtors and their estates notwithstanding 28 U.S.C. § 1334(e) and

                             28   11 U.S.C. § 365(a).” Id. If that were so, there would be “no practical way” for this Court to “repair

                                  the damage” of forcing the Debtors to litigate post-petition performance obligations in multiple

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                              1   forums. Id. Doing so would defeat a central goal of the Bankruptcy Code, namely providing an

                              2   efficient and centralized forum for the reorganization of debtor-creditor relations. Id.

                              3          FERC has shown that it is willing to “impinge on the bankruptcy court’s jurisdiction over the

                              4   estate and the reorganization process,” FERC Opp. at 23–24, even while facing a motion for

                              5   injunctive relief.   See NRG Energy, 2003 WL 21507685, at *2–3 (while district court was

                              6   considering motion to enjoin FERC, FERC ordered debtor to continue performance, despite prior

                              7   Bankruptcy Court order authorizing rejection).         More specifically, FERC has stated that its

                              8   “approval is required” before the Debtors can reject executory PPAs. NextEra Order ¶ 29; Exelon

                              9   Order ¶ 26. It has also stated that, despite the Debtors’ bankruptcy—over which this Court has

                             10   exclusive jurisdiction—“the Commission maintains discretion to exercise its authority.” NextEra

                             11   Order ¶ 31; Exelon Order ¶ 28. Tripling down, FERC boldly accuses this Court of stripping FERC

                             12   of its jurisdiction—claiming that doing so “would extinguish Congress’s express grant of jurisdiction

                             13   and regulatory authority to FERC for the purpose of protecting the public interest in the wholesale
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                             14   energy market.” FERC Opp. at 16 (citing no authority). FERC is poised to act if not stayed or
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                             15   enjoined, and because the Debtors are already deeply enmeshed in a chapter 11 bankruptcy, this

                             16   requires an immediate resolution.

                             17          This Court can and should prevent FERC Action that threatens (i) the res of the estates, i.e.,

                             18   the executory PPAs, and (ii) the integrity of the Bankruptcy Code, i.e., the Debtors’ section 365

                             19   rights and Congress’s carefully crafted priority scheme under section 507. See Opening Br. at 19–

                             20   23. While the Intervenors dismissively characterize these harms as “abstract,” PPA Opp. at 19,

                             21   wildfire victims surely will not. Nor should this Court. It has a very real obligation to ensure that

                             22   the Debtors treat all similarly situated creditors equally. See 11 U.S.C. § 507. But FERC Action

                             23   would compromise that duty, as well as a fundamental tenet of the Bankruptcy Code. Rather than

                             24   equal treatment for all unsecured creditors, a FERC-selected group of contractual counterparties

                             25   would receive a windfall, to the detriment of all other unsecured creditors. No matter, chirps the

                             26   Intervenor chorus in arguing that the Debtors will not be harmed: above-market rates “are 100%

                             27   recovered by PG&E via pass through to PG&E customers.” PPA Opp. at 20–22. But this is beside

                             28   the point. The Objectors’ arguments about pass-through rates are merely an attempt to distract this



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                              1   Court from the true harm to the Debtors: the potential for jurisdictional loss over a critical piece of

                              2   the Debtors’ reorganization.

                              3          C.      An Injunction Would Not Harm FERC or the Intervenors

                              4          An injunction that declares and preserves this Court’s exclusive jurisdiction over the

                              5   Debtors’ estates and issues concerning the rejection of PPAs will not harm FERC; FERC cannot

                              6   claim it suffers an injury by the deprivation of its jurisdiction when it never had that jurisdiction to

                              7   begin with. For the same reasons, an injunction will not harm the Intervenors, either. It will not

                              8   affect the rates set by FERC; rather, it will merely allow rejection, and the attendant potential

                              9   rejection damages, which would vindicate the PPAs, their filed rates, and, by extension, the FPA.

                             10   See FirstEnergy, 2018 WL 2315916, at *19. The injunction will merely recognize that further

                             11   FERC Action would be in the furtherance of private—not public—interest and serve no purpose but

                             12   to instigate a lengthy proceeding that is necessarily void ab initio. See FirstEnergy, 2018 WL

                             13   2315916, at *19. Enjoining further FERC Action will permit the Debtors and their creditors to focus
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                             14   on the Chapter 11 Cases so as to vindicate any rejected PPAs and their filed rates through rejection
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                             15   damages claims pursuant to those contracts and rates. Indeed, “the prospect that the Debtors might

                             16   reject executory contracts that the Bankruptcy Code allows them to reject cannot be a cognizable

                             17   ‘substantial harm.’” Id. Though the Objectors may claim that their disappointment in not getting a

                             18   full recovery is an injury, such disappointment “will be fairly shared with all other unsecured

                             19   creditors of the Debtors’ estates.” Id. And should the Objectors believe that the Debtors’ exercise of

                             20   their business judgment does not support rejection of a contract under § 365, the Objectors will have

                             21   an opportunity to make their voices heard on that point.

                             22          D.      The Public Interest Favors an Injunction

                             23          FERC is correct that bankruptcy proceedings are not “havens for debtors to avoid regulatory

                             24   compliance.” FERC Opp. at 25. They do, however, further the public interest by providing an

                             25   efficient and centralized forum for the reorganization of debtor-creditor relations. See FirstEnergy,

                             26   2018 WL 2315916, at *19. Allowing the Bankruptcy Court to address whether a debtor may reject a

                             27   contract, subject to rejection damages, will benefit all creditors and the public alike. In contrast, the

                             28   only beneficiary of allowing FERC to burden the estates with a contract the Debtors wish to, but

                                  cannot, reject, is the individual counterparty to that specific PPA. Issuing the requested injunction

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                              1   will improve the Debtors’ prospects for a successful reorganization—an outcome in which every

                              2   stakeholder (including employees, local communities, customers, creditors, and equity holders), has

                              3   a vested interest. And as established, FERC’s total lack of jurisdiction over contract rejection

                              4   necessarily means that FERC will not be prevented from “safeguarding the nation’s electric

                              5   markets” in any way that Congress intended. FERC Opp. at 26.

                              6          While the Objectors seem to suggest that the relief sought here could conceivably lead to

                              7   reliability issues, all of their statements in this regard are purely hypothetical and are significantly

                              8   undercut by FERC’s own actions. Indeed, from 2006 until recently, FERC took the position that

                              9   bankruptcy courts have exclusive jurisdiction over rejection motions, without ever voicing concern

                             10   that doing so might have negative consequences for the reliability of the electric system. See Cal.

                             11   Elec. Oversight Bd. v. Calpine Energy Services, L.P., 114 F.E.R.C. ¶ 61,003 (2006). Nor did

                             12   FERC’s recent orders suggest the reliability of the electric system as a rationale for its change in

                             13   course. See generally NextEra Order; Exelon Order. There is good reason for this omission: the
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                             14   authority FERC is asserting is its authority as an economic regulator to approve changes to rates. Of
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                             15   course, as a public utility the Utility must obtain enough electricity to meet its obligations. But those

                             16   requirements, like the requirements about the environmental attributes of the electricity it procures,

                             17   emanate from state law and not from Sections 205 and 206 of the Federal Power Act, upon which

                             18   FERC relies for its claim of concurrent jurisdiction. See 16 U.S.C. §§ 824d & 824e.

                             19   V.     THE COURT SHOULD NOT OTHERWISE DECLINE TO EXERCISE ITS

                             20          EXCLUSIVE JURISDICTION

                             21          A.      Sovereign Immunity Has Been Abrogated

                             22          FERC’s claim to sovereign immunity is without merit. “Notwithstanding an assertion of

                             23   sovereign immunity, sovereign immunity is abrogated as to a governmental unit” with regard to,

                             24   inter alia, sections 105, 362, and 365 of the Bankruptcy Code. See 11 U.S.C. § 106(a). That covers

                             25   the provisions of the Bankruptcy Code at issue in these proceedings. And because sovereign

                             26   immunity has been abrogated, the question of whether FERC waived sovereign immunity by

                             27   submitting to this Court’s jurisdiction is irrelevant.

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                              1          B.      The Court Cannot Abstain from Exercising Its Exclusive Jurisdiction

                              2          The notion that this Court must abstain from the exercise of its exclusive jurisdiction over a

                              3   core proceeding flies in the face of the Bankruptcy Code. The Debtors’ complaint is devoid of

                              4   non-bankruptcy claims and seeks only enforcement of the Code, and the Objectors’ argument that

                              5   the complaint somehow involves the FPA is yet another instance of the question-begging that has

                              6   permeated the Objectors’ strategy since the inception of this litigation.            Abstaining from a

                              7   jurisdictional dispute involving a core bankruptcy proceeding is entirely inappropriate. See, e.g., In

                              8   re Diversified Contract Servs., Inc., 167 B.R. 591, 598 (Bankr. N.D. Cal. 1994) (refusing to abstain

                              9   under § 1334(c)(1) when the “bankruptcy law issues” were important to “the integrity of the

                             10   bankruptcy system”).

                             11          C.      Judicial Estoppel Cannot Prevent This Court from Deciding Its Jurisdiction

                             12          FERC devotes significant space to an argument allegedly grounded in judicial estoppel. See

                             13   FERC Opp. at 13–15; see also PPA Opp. at 4 n.7 (“For the avoidance of doubt, all arguments
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                             14   asserted in the FERC Opposition are fully incorporated herein.”). In FERC’s telling, the Debtors are
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                             15   judicially estopped from contesting FERC’s infringement on this Court’s exclusive jurisdiction

                             16   because the Debtors allegedly advanced contrary legal arguments in a proceeding between the

                             17   Debtors and Calpine almost thirteen years ago, in In re Calpine Corp., 337 B.R. 27 (S.D.N.Y. 2006).

                             18          Judicial estoppel does not apply here, and even if it did, the doctrine would not bar this

                             19   adversary proceeding. First, this Court cannot be estopped from determining and enforcing the

                             20   scope of its own jurisdiction. Judicial estoppel “cannot create federal jurisdiction that otherwise

                             21   does not exist,” nor can it apply to the “inverse situation, when a party that had earlier claimed no

                             22   need for federal jurisdiction is now asserting a basis for such jurisdiction.” E-Pass Techs. v. Moses

                             23   & Singer, LLP, No. C-09-5967 EMC, 2011 WL 5357912, at *7 (N.D. Cal. Nov. 4, 2011). In E-Pass,

                             24   the plaintiff “first asserted that federal jurisdiction was not proper as its claims raised no substantial

                             25   issue of patent law, convinced a court to adopt that reasoning, and later reversed itself to assert new,

                             26   contradictory grounds for federal patent jurisdictions.”       Id.   In deciding not to apply judicial

                             27   estoppel, the Court “cast doubt” on employing the doctrine, “especially where exclusive federal

                             28   jurisdiction is at issue,” because the “duty to exercise jurisdiction applies with particular force

                                  where, as here, federal jurisdiction is exclusive.” Id. at *7–8. Other federal courts have been even

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                              1   more explicit. See Palafox St. Assocs., L.P. v. United States, 114 Fed. Cl. 773, 785 (2014) (“As

                              2   defendant correctly observes, however, ‘principles of estoppel do not apply to jurisdiction.’”)

                              3   (citation omitted); Jarrard v. CDI Telecommunications, Inc., 408 F.3d 905, 914 (7th Cir. 2005)

                              4   (addressing a judicial estoppel argument was unnecessary where “Indiana state law clearly vest[ed]

                              5   exclusive jurisdiction in the [Indiana Worker’s Compensation] Board”); Whiting v. Krassner, 391

                              6   F.3d 540, 544 (3d Cir. 2004) ((“[T]here is an exception to the general concept of judicial estoppel

                              7   when it comes to jurisdictional facts or positions, such that it has been said that judicial

                              8   estoppel . . . cannot conclusively establish jurisdictional facts.” (alteration in original) (internal

                              9   quotation marks omitted)). Thus, FERC cannot use judicial estoppel to either expand its own

                             10   jurisdiction or to strip it away from the Bankruptcy Court, particularly when, as is the case here, the

                             11   Bankruptcy Court’s exclusive jurisdiction is at stake.

                             12          Even if the Court did not have an independent obligation to decide and protect its own

                             13   jurisdiction, the Debtors’ position in Calpine by no means merits judicial estoppel here. FERC
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                             14   posits that the Debtors will gain an “unfair” and “competitive” advantage “by freeing themselves of
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                             15   the requirements of the FPA if permitted to proceed.” FERC Opp. at 14. But this argument

                             16   presupposes its own conclusion—that rejection under § 365 amounts to undermining the

                             17   requirements of the FPA. Any “unfair” or “competitive” advantage the Debtors might receive is

                             18   only derived from a universe where FERC is right about its “concurrent” jurisdiction. In other

                             19   words, FERC would have the Debtors judicially estopped from arguing the merits because FERC is

                             20   supposedly right about the merits, a tail-eating snake of a proposition that makes no sense.

                             21          In any event, FERC and the Intervenors can hardly complain that this proceeding “impose[s]

                             22   an unfair detriment” on them now. Ah Quin v. Cty. of Kauai Dep’t of Transp., 733 F.3d 267, 271

                             23   (9th Cir. 2013). FERC itself has seesawed on the question of its jurisdiction over the rejection of

                             24   contracts under § 365, with the result that the Debtors must now contest it in these proceedings.

                             25   Compare Calpine Energy, 114 F.E.R.C. at ¶ 61,006 (“[T]he Commission is precluded from taking

                             26   action under the FPA that impacts a debtor’s ability to reject an executory contract.”), with NextEra

                             27   Order at ¶ 29 (“[R]ejection of a Commission-jurisdictional contract in a bankruptcy court alters the

                             28   essential terms of the contract and the filed rate; thus, this Commission’s jurisdiction is implicated,

                                  and our approval is required.”). This reversal remains completely unexplained.

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                              1                                           CONCLUSION

                              2         For the foregoing reasons, this Court should grant the Debtors’ Motion.

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                              4   Dated: March 13, 2019
                                                                                      WEIL, GOTSHAL & MANGES LLP
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                              9                                                       Proposed Attorneys for Debtors
                                                                                      and Debtors in Possession
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